UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------x
DONALD J. TRUMP,

                    Plaintiff,                     19 Civ. 8694   (VM)

     - against -                                  ORDER

CYRUS R. VANCE, JR., in his official
capacity as District Attorney of the
County of New York, and
MAZARS USA, LLP,

                    Defendants.
-------------------------------------x
VICTOR MARRERO, United States District Judge.

     It is hereby ordered that the oral argument scheduled

for September 25, 2019 at 9:30 a.m. shall be held in Courtroom

23B of the Daniel Patrick Moynihan United States Courthouse,

500 Pearl Street,· New York, NY 10007.


SO ORDERED.

Dated:    New York, New York
          20 September 2019




                                                       U.S.D.J.



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